Case 4:06-cr-00020-MW-CAS         Document 191      Filed 04/08/08    Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                    CASE NO.: 4:06cr20-SPM

CHRISTOPHER TROUPE,

           Defendant.
____________________________/


      ORDER DENYING MOTION TO REDUCE UNDER 18 U.S.C. § 3582

       This cause comes before the Court on Defendant’s request for a sentence

reduction under the retroactive crack cocaine amendment (Amendments 706 and

711) and 18 U.S.C. § 3582(c) (doc. 182). The Government has filed a response

in opposition (doc. 188).

       Upon review, the Court finds that Defendant is not entitled to a sentence

reduction because application of the guideline amendment results in no change

to his sentencing range. Defendant’s offense involved 440 grams of cocaine

base and 2 kilograms of powder cocaine, which converts to 3,348 kilograms of

marijuana equivalent and corresponds to a base offense level of 34 under the

both old drug quantity table and the amended drug quantity table. Defendant’s

sentence is driven more by the weight of the power cocaine than the weight of

the cocaine base. Because Defendant’s sentencing range remains the same
Case 4:06-cr-00020-MW-CAS          Document 191       Filed 04/08/08    Page 2 of 2




after the application of the amendment, he is not eligible for a reduction.

       Accordingly, it is hereby ORDERED AND ADJUDGED that the request for

a sentence reduction (doc. 182) is denied.

       DONE AND ORDERED this eighth day of April, 2008.




                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
